      Case 3:19-cv-01529-X Document 30 Filed 09/21/19             Page 1 of 10 PageID 422


                             UNITED STATES DISTRICT COURT
                              NORTHERN DISTRICT OF TEXAS
                                   DALLAS DIVISION


 SELINA MARIE RAMIREZ, individually              §
 and as Independent Administrator of, and on     §
 behalf of, the ESTATE OF GABRIEL                §
 EDUARDO OLIVAS and the heirs-at-law of          §
 GABRIEL EDUARDO OLIVAS, and as                  §
 parent, guardian, and next friend of and for    §
                                                 §
 female minor S.M.O.; and GABRIEL
                                                 §
 ANTHONY OLIVAS, individually,
                                                 §     CIVIL ACTION NO. 3:19-CV-1529-X
                        Plaintiffs,              §
                                                 §
 v.                                              §
                                                 §
 CITY OF ARLINGTON, TEXAS;
                                                 §
 JEREMIAS GUADARRAMA; and EBONY                  §
 N. JEFFERSON,                                   §
                        Defendants.              §


        DEFENDANT GUADARRAMA’S REPLY TO PLAINTIFFS’ RESPONSE TO
                    DEFENDANT’S MOTION TO DISMISS

         Defendant Jeremias Guadarrama (“Defendant” or “Guadarrama”), pursuant to the court’s

Local Rules 7.1(f) and 7.2(c), files this, his reply to Plaintiffs’ Response to Defendants’ Motions

to Dismiss, filed on September 10, 2019 (ECF Doc. No. 29) (“Plaintiffs’ Response”). In support

hereof, Defendant respectfully shows the court the following:

                                      I. INTRODUCTION

         Plaintiffs’ Response is filed to respond to the dismissal motion not only filed by

Guadarrama, but also in response to dismissal motions filed by Co-Defendants City of Arlington,

Texas, and Ebony N. Jefferson. See, generally, Plaintiffs’ Response. Guadarrama’s reply is to

those portions of Plaintiffs’ Response applicable to Guadarrama’s dismissal motion only.



DEFENDANT GUADARRAMA’S REPLY TO PLAINTIFFS’ RESPONSE TO DEFENDANT’S MOTION
TO DISMISS – PAGE 1
   Case 3:19-cv-01529-X Document 30 Filed 09/21/19                  Page 2 of 10 PageID 423


                            II. ARGUMENT AND AUTHORITIES

       A.      Rule 12(b)(6) Motion: The Appropriate Legal Standard

       Plaintiffs’ Response does not materially dispute the standards set forth in this section of

Defendant Guadarrama’s Renewed Motion to Dismiss, and Brief, filed August 21, 2019 (ECF

Doc. No. 25) (“Defendant’s Motion”). Compare Plaintiffs’ Response, p. 7, with Defendant’s

Motion, pp. 2-3.

       B.      Legal Standard for Excessive Force Pleadings

       Plaintiffs’ Response does not materially dispute the standards set forth in this section of

Defendant’s Motion. Compare Plaintiffs’ Response, pp. 13-14, with Defendant’s Motion, pp. 3-

5. Plaintiffs’ Response, however, goes further to suggest that the excessive force factors can be

satisfied “without a body of relevant case law.” Plaintiffs’ Response, p. 14 (citing Newman v.

Guedry, 703 F.3d 757, 764 (5th Cir. 2012), cert. denied, 571 U.S. 826 (2013)). While Newman

was an excessive force case that involved use of a taser, the decision loosely analyzed the “clearly

excessive law” standard. Id. Notwithstanding Plaintiffs’ attempt to characterize this case as being

aligned with Newman, Newman is distinguishable. In Newman, the suspect had committed no

crime, posed no threat to anyone’s safety, and did not resist the officers or fail to comply with a

command. Id. In fact, the plaintiff claimed he was tasered repeatedly despite never being given

any command by the officers. Id. at 763.

       In contrast, the officers’ accounts of the situation and series of events in the instant case

paint a different picture entirely. Plaintiffs’ Amended Complaint, pp. 7-23. Further, even if

Plaintiffs’ version of events stated a constitutional violation (which Defendant nonetheless denies),

that is only one element of an excessive force claim. The court must also decide whether

Defendant’s conduct violated “clearly established . . . constitutional rights of which a reasonable


DEFENDANT GUADARRAMA’S REPLY TO PLAINTIFFS’ RESPONSE TO DEFENDANT’S MOTION
TO DISMISS – PAGE 2
   Case 3:19-cv-01529-X Document 30 Filed 09/21/19                   Page 3 of 10 PageID 424


person would have known.” Mullenix v. Luna, ___ U.S. ___, 136 S.Ct. 305, 308 (2015). Clearly

established law must be particularized to the facts of the case. Id. While a case need not be

“directly on point,” precedent must still put the underlying question beyond debate. Id. Newman

fails in that role, and does not provide sufficient precedential notice vis-à-vis the scenario facing

Defendant and whether clearly established law put the underlying question beyond debate whether

Defendant’s use of his taser on a man who doused himself with gasoline, held a lighter, threatened

to commit suicide by igniting himself, risking harm to other persons and/or property from an

ensuing fire, including the risk to the officers, in a tense and emotionally volatile situation in a

bedroom, was prohibited. Newman, therefore, is not clearly established law governing the court’s

decision here.

       Further, Plaintiffs’ Response cites Grandstaff v. City of Borger, 767 F.2d 161, 171 (5th Cir.

1985) in discussing excessive force. Plaintiffs’ Response, p. 14, 25. Grandstaff is not applicable

as authority for an excessive force claim against Defendant because the focus of the cited portion

of that decision was whether a policy, practice or custom existed sufficient to hold the city liable

under Monell v. Dept. of Soc. Services, 436 U.S. 658 (1978). Moreover, Grandstaff has been

severely limited in any further application as reliable authority:

       Rather, Grandstaff affirmed a judgment against a Texas city on a highly peculiar
       set of facts: in response to a minor traffic violation, three patrol cars engaged in a
       high speed chase during which they fired wildly at the suspected misdemeanant;
       the object of this chase took refuge on an innocent person’s ranch, where the entire
       night shift of the city police force converged and proceeded to direct hails of gunfire
       at anything that moved; although nobody except the police was ever shown to have
       fired a shot, the innocent rancher was killed when the police shot him in the back
       as he was emerging from his own vehicle; after this “incompetent and catastrophic
       performance,” [767 F.2d] at 171, which involved a whole series of abusive acts, the
       officers’ supervisors “denied their failures and concerned themselves only with
       unworthy, if not despicable, means to avoid legal liability,” Id. at 166. The
       Grandstaff panel emphasized the extraordinary facts of the case, and its analysis
       can be applied only to equally extreme factual situations.


DEFENDANT GUADARRAMA’S REPLY TO PLAINTIFFS’ RESPONSE TO DEFENDANT’S MOTION
TO DISMISS – PAGE 3
   Case 3:19-cv-01529-X Document 30 Filed 09/21/19                   Page 4 of 10 PageID 425


Coon v. Ledbetter, 780 F.2d 1158, 1161 (5th Cir. 1986). See also World Wide Street Preachers

Fellowship v. Town of Columbia, 591 F.3d 747, 755 (5th Cir. 2009) (similarly noting Grandstaff’s

limitation as authority for anything but the most egregious case).

       C.      Legal Standards for Qualified Immunity

       Other than Plaintiffs’ general dissatisfaction with the qualified immunity defense

jurisprudentially, Plaintiffs’ Response does not specifically address the standards set forth in this

section of Defendant’s Motion. Compare Plaintiffs’ Response, generally, with Defendant’s

Motion, pp. 5-6. Instead, Plaintiffs’ Response mentions the qualified immunity elements globally.

       D.      Plaintiffs’ Allegations as to Guadarrama

       Plaintiffs’ Response repeats in detail the allegations set forth in the First Amended

Plaintiffs’ Original Complaint, filed on August 7, 2019 (ECF Doc. No. 19) (“Plaintiffs’ Amended

Complaint”). While Plaintiffs’ Response focuses on certain allegations, under the standards

applicable to the court’s review of a motion to dismiss asserted under Rule 12(b)(6) of the Federal

Rules of Civil Procedure, the court is to review whether Plaintiffs have pled enough facts to state

a claim to relief that is plausible on its face (Bell Atl. Corp. v. Twombly, 550 U.S. 544, 570 (2007)),

or instead have only alleged bare recitals of the elements of a cause of action, no matter how

detailed or lengthy those allegations appear in Plaintiffs’ Amended Complaint. “Threadbare

recitals of the elements of a cause of action, supported by mere conclusory statements, do not

suffice.” Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009). Facial plausibility is satisfied when the

plaintiff pleads factual content that allows the court to draw the reasonable inference that the

defendant is liable for the misconduct alleged. Id. As set forth in Defendant’s Motion, and as

revealed in Plaintiffs’ Response, Plaintiffs’ allegations do not satisfy important key elements to

overcome Guadarrama’s entitlement to qualified immunity.


DEFENDANT GUADARRAMA’S REPLY TO PLAINTIFFS’ RESPONSE TO DEFENDANT’S MOTION
TO DISMISS – PAGE 4
   Case 3:19-cv-01529-X Document 30 Filed 09/21/19                  Page 5 of 10 PageID 426


       E.      Plaintiffs’ Excessive Force Claim Against Guadarrama Does Not Overcome
               His Entitlement to Qualified Immunity.

               1.      Plaintiffs Expressly Allege that Mr. Olivas’ Death Did Not Result
                       “Directly and Only” from Guadarrama’s Conduct.

       Plaintiffs’ Response recasts Plaintiffs’ allegations in a manner that differs from what was

actually alleged. See, generally, Plaintiffs’ Response, pp. 4-12. Although Plaintiffs’ Amended

Complaint unquestionably asserts that Mr. Olivas had doused himself with gasoline, and had

poured gasoline in other places in the residence, and was holding a lighter and threatening to ignite

himself in order to commit suicide and to harm the officers (Plaintiffs’ Amended Complaint, p. 7,

¶¶ 12-13, and pp. 11-12, ¶¶ 22-23), Plaintiffs’ Response attempts to shift focus away from those

facts to paint a different picture of the events: one of calm and tranquility with Mr. Olivas only

making statements that should be deemed a cry for help and that he was no threat, rather than

creating a tense, rapidly evolving and chaotic scene threatening to harm himself and others.

Notwithstanding difference in characterization, Mr. Olivas’ own actions nonetheless created the

dangerous conditions facing Defendant, so that Guadarrama’s actions in response to those

conditions were not the proximate, or “direct and only cause,” of Mr. Olivas’ injuries. See, e.g.,

Batiste v. Theriot, 458 Fed. Appx. 351, 355 (5th Cir. 2012) (“The injury did not result from the

tasing regardless of its reasonableness. This eliminates tasing as a basis for an excessive force

claim”). To reiterate the argument from Defendant’s Motion, Mr. Olivas himself set the stage for,

and was partly the cause of, his injuries. Plaintiffs’ Amended Complaint, p. 7, ¶¶ 12-13. As a

result, Plaintiffs’ own pleadings affirmatively negate a necessary element of their excessive force

claim against Defendant.

               2.      Plaintiffs Fail to Allege Objectively Unreasonable Conduct on the Part of
                       Guadarrama.

       Plaintiffs’ Response spends a great deal of time arguing that Guadarrama’s conduct was

DEFENDANT GUADARRAMA’S REPLY TO PLAINTIFFS’ RESPONSE TO DEFENDANT’S MOTION
TO DISMISS – PAGE 5
   Case 3:19-cv-01529-X Document 30 Filed 09/21/19                   Page 6 of 10 PageID 427


unreasonable. Rather than repeat all his arguments herein, Defendant refers the court to this

subsection of Defendant’s Motion, at pp. 9-10.          Whether Defendant’s taser discharge was

objectively unreasonable must be viewed from Defendant’s perspective and through the facts and

circumstances present at the moment Defendant is alleged to have deployed his taser. See

Rockwell v. Brown, 664 F.3d 985, 991 (5th Cir. 2011). As alleged, Defendant’s taser discharge

was a non-lethal attempt to muscularly immobilize a man threatening to ignite a fire and commit

suicide, with several people allegedly standing nearby, so that Defendant’s use of such force could

not be considered objectively unreasonable under the circumstances. See Rockwell, 664 F.3d at

992 (“[I]t is sufficient that the officer reasonably believed that the suspect posed a threat to the

safety of the officer or others.”). Plaintiffs have therefore failed to overcome Defendant’s

entitlement to qualified immunity.

               3.      Guadarrama’s Conduct was not “Clearly Established” as Unlawful.

       As set forth in Defendant’s Motion, pp. 10-13, and to reiterate from above, even assuming

a particular use of force is excessive and violates the protections of the Fourth Amendment (which

Defendant nonetheless strenuously denies here), Plaintiffs must also plead sufficient facts to

establish that, at the time of the events in question, it had been clearly established, that is, beyond

debate, that Guadarrama’s particular conduct was unlawful. See Mullenix, 136 S.Ct. at 308;

Morrow v. Meachum, 917 F.3d 870, 874 (5th Cir. 2019) (following Mullenix); Samples v.

Vadzemnieks, 900 F.3d 655, 662-63 (5th Cir. 2018) (in excessive force case involving use of a

taser, court found constitutional violation but granted qualified immunity to officer because

officer’s use of his taser did not violate clearly established law). Plaintiffs’ Response did not

address the cases listed on page 11 of Defendant’s Motion that upheld qualified immunity in

instances when deadly force was used in the context of a suicidal suspect and/or in instances where


DEFENDANT GUADARRAMA’S REPLY TO PLAINTIFFS’ RESPONSE TO DEFENDANT’S MOTION
TO DISMISS – PAGE 6
   Case 3:19-cv-01529-X Document 30 Filed 09/21/19                  Page 7 of 10 PageID 428


the suspect presented a serious and immediate threat to officers or other innocent bystanders. See

Plaintiffs’ Response, pp. 19-24. Instead, Plaintiffs’ Response cited several cases from other federal

circuits in an attempt to establish that Guadarrama’s actions were not reasonable. Plaintiffs’

Response, pp. 19-23.

       Decisions of other circuit courts are merely persuasive authority and are not binding on

this court. See Salazar v. Dretke, 419 F.3d 384, 404 (5th Cir. 2005); Garcia v. Amfels, Inc., 254

F.3d 585, 588 (5th Cir. 2001) (noting that decisions of other circuit courts are persuasive, not

binding). This court is only bound by decisions of the Fifth Circuit Court of Appeals and United

States Supreme Court. See Peregoy v. Amoco Production Company, a Division of Standard Oil

of Indiana, 742 F.Supp. 372, 3735 (E.D. Tex. 1990). As a result, there is no need to address or

respond to Plaintiffs’ irrelevant authority from other circuits, since decisions from other circuits

do not provide clearly established law to police officers in the Fifth Circuit. Additionally, those

cases from other circuits are inapposite because factually they did not address the situation

Guadarrama faced with Mr. Olivas.

       Interestingly, Plaintiffs’ effort to cite such a relatively large number of cases from other

circuits actually confirms that there is no case that has found that tasing an individual who doused

himself with gasoline and threatened to ignite himself, under tense, stressful circumstances, to be

clearly established unlawful deadly force. Compare Batiste , 458 Fed. Appx. at 354-55 (“Even if

Plaintiffs accurately describe the tasing, they have not shown that the use of a non-lethal weapon

in a less than optimal manner necessarily equates to the use of a loaded firearm as was the case in

[Tennessee v. Garner, 471 U.S. 1 (1985)]… [W]e find no support, and the Plaintiffs offer none,

for the inference that the use of a taser is comparable to discharging a firearm. There are no cases




DEFENDANT GUADARRAMA’S REPLY TO PLAINTIFFS’ RESPONSE TO DEFENDANT’S MOTION
TO DISMISS – PAGE 7
    Case 3:19-cv-01529-X Document 30 Filed 09/21/19                             Page 8 of 10 PageID 429


in this circuit that support this proposition and we decline to so rule.”).1

         Plaintiffs’ Response, at pp. 23-24, next asserts reliance on cases from this circuit to support

Plaintiffs’ position. Those cases also do not mandate denial of Defendant’s Motion. While Cole

v. Carson, 935 F.3d 444 (5th Cir. 2019) (en banc) provides insight concerning excessive force

analysis in a summary judgment factual dispute scenario, the facts presented do not provide clearly

established law to guide Guadarrama in this case’s situation, particularly since Cole was decided

just last month, after the underlying events in this case occurred. Likewise, Reyes v. Bridgwater,

362 Fed.Appx. 403 (5th Cir. 2010) does not provide clearly established law to govern

Guadarrama’s actions. In Reyes, the Fifth Circuit reversed a summary judgment ruling because of

factual disputes as to what occurred and whether the officer was justified in shooting his firearm

at plaintiff’s decedent who was not suspected of any serious crime, who was in his own home,

where the officers entered by breaking down the door, and the decedent was standing at a safe

distance and holding a knife in an unthreatening manner. Reyes, 362 Fed.Appx. at 405, 408.

         The same is true with Bacque v. Leger, 207 Fed.Appx. 374, 376 (5th Cir. 2006), where the

facts mirror those in Reyes, in that the suspect was shot standing motionless and holding a knife at

this side. Ramirez v. Fonseca, 331 F.Supp.3d 6671 (W.D. Tex. 2018) is likewise uninstructive

because it is factually different, and because Mullenix requires existing precedent to provide

guidance for the situation confronting the officer. Mullenix, 136 S.Ct. at 309. Here, there is no

such clearly established law to have guided Guadarrama in this unique and dangerous situation.2


1
   Plaintiffs’ Response, at pp. 27-28, asserts that Guadarrama’s use of his taser equated to the use of a firearm.
Plaintiffs’ argument is without merit in light of Batiste.
2
   Curiously, Plaintiffs’ Response, at p. 24, cites the overruled decision in Luna v. Mullenix, 773 F.3d 712 (5th Cir.
2014), rev’d, __ U.S. __, 136 S.Ct. 305 (2015). Plaintiffs’ attempt to assert that the Fifth Circuit decision was
overruled “on other grounds” is somewhat misleading, since the basis for the Supreme Court’s decision was to address
the clearly established law element of an excessive force claim in the context of qualified immunity, the very context
to which Plaintiffs’ Response cites the Fifth Circuit decision. In any event, an overruled appellate decision is dubious
to establish “clearly established law,” and the court should reject Plaintiffs’ cite to Luna for that proposition.
DEFENDANT GUADARRAMA’S REPLY TO PLAINTIFFS’ RESPONSE TO DEFENDANT’S MOTION
TO DISMISS – PAGE 8
   Case 3:19-cv-01529-X Document 30 Filed 09/21/19                 Page 9 of 10 PageID 430


        Notwithstanding the argument presented in Plaintiffs’ Response, it is undisputable that

Plaintiffs’ Amended Complaint itself does not establish that Defendant’s use of a taser in this

situation violated clearly established law. Plaintiffs thus fail to nudge their allegations of harm

from conceivable to plausible. Twombly, 550 U.S. at 570. Defendant’s Motion should be granted

in its entirety.

        F.         Amendment of Pleadings Not Warranted

        Plaintiffs’ Response, at p. 28, concludes with a vague request for Plaintiffs to be allowed

to amend their pleadings. Defendant urges the court to deny that request since Plaintiffs have now

already had two bites at the pleadings apple. Plaintiffs do not provide any information as to what

different, new or improved pleadings would be presented.

        WHEREFORE, PREMISES CONSIDERED, Defendant Jeremias Guadarrama prays that

the court grant his motion to dismiss and dismiss all claims brought by the Plaintiffs against him

based upon his qualified immunity defense and for failure to state a claim. Defendant also prays

for all other relief to which he may be justly entitled.

                                               Respectfully submitted,

                                               By:    /s/ Edwin P. Voss, Jr.
                                                      Edwin P. Voss, Jr.
                                                      State Bar No. 20620300
                                                      evoss@bhlaw.net
                                                      Michael L. Martin
                                                      State Bar No. 24108956
                                                      mmartin@bhlaw.net
                                               BROWN & HOFMEISTER, L.L.P.
                                               740 East Campbell Road, Suite 800
                                               Richardson, Texas 75081
                                               214-747-6100 (Telephone)
                                               214-747-6111 (Telecopier)

                                               ATTORNEYS FOR DEFENDANT
                                               JEREMIAS GUADARRAMA


DEFENDANT GUADARRAMA’S REPLY TO PLAINTIFFS’ RESPONSE TO DEFENDANT’S MOTION
TO DISMISS – PAGE 9
  Case 3:19-cv-01529-X Document 30 Filed 09/21/19             Page 10 of 10 PageID 431



                               CERTIFICATE OF SERVICE

       A copy of the foregoing document was served electronically through the court’s ECF

system on all counsel of record on September 21, 2019.

                                                  /s/ Edwin P. Voss, Jr.
                                                  Edwin P. Voss, Jr.




DEFENDANT GUADARRAMA’S REPLY TO PLAINTIFFS’ RESPONSE TO DEFENDANT’S MOTION
TO DISMISS – PAGE 10
